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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MARC DAYS, BAR #184098
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, CA 93721-2226
     Telephone: 559-487-5561/Fax: 559-487-5950
5
     Attorney for Defendant
6    VICENTE RIVAS-FELIX

7
8                            IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                 )   Case No. 1:12-cr-00340 AWI-BAM
                                                )
12                        Plaintiff,            )   STIPULATION TO ADVANCE STATUS
                                                )   CONFERENCE HEARING AND RESET
13    vs.                                       )   FOR CHANGE OF PLEA; ORDER
                                                )
14    VICENTE RIVAS-FELIX,                      )   DATE: February 10, 2014
                                                )   TIME: 10:00 a.m.
15                       Defendant.             )   JUDGE: Hon. Anthony W. Ishii
                                                )
16                                              )

17          IT IS HEREBY STIPULATED by and between the parties hereto, and through their

18   respective attorneys of record herein, that the status conference hearing in the above-captioned

19   matter now set for March 10, 2014, may be advanced to February 10, 2014 at 10:00 a.m. and

20   reset for change of plea.

21          This request is made by counsel for Defendant because defendant would like to enter his

22   plea as soon as possible.

23                                                  Respectfully submitted,

24                                                  BENJAMIN B. WAGNER
                                                    United States Attorney
25
26   DATED: February 6, 2014                        /s/ Kevin P. Rooney
                                                    KEVIN P. ROONEY
27                                                  Assistant U.S. Attorney
                                                    Attorney for Plaintiff
28
     Case 1:12-cr-00340-AWI-BAM Document 119 Filed 02/07/14 Page 2 of 2


1                                                             HEATHER E. WILLIAMS
                                                              Federal Defender
2
     DATED: February 6, 2014                                  /s/ Marc Days
3                                                             MARC DAYS
                                                              Assistant Federal Defender
4                                                             Attorneys for Defendant
                                                              VICENTE RIVAS-FELIX
5
6
7
                                                              ORDER
8
              IT IS SO ORDERED. The status conference hearing in the above-referenced matter for
9
     defendant Vicente Rivas-Felix now set for March 10, 2014, is hereby advanced to February
10
11   10, 2014, at 10:00 a.m. and reset for change of plea.

12
     IT IS SO ORDERED.
13
     Dated:     February 6, 2014
14                                                            SENIOR DISTRICT JUDGE
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      Rivas-Feliz: Stipulation to Advance Status Conference
      Hearing and Reset for Change of Plea; [Proposed]
      Order
